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IN THE UNITED STATES DISTRICT COURT ` h "`¢"L" - ~
FoR THE WESTERN DISTRlCT oF TENNESSEE,§ M_JU;,__, 30 PF,
EASTERN oivisioN ‘
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
vs. ) NO. 1-04-10054-01-T
)
DALLIS JEROME PRICE, )
)
Defendant. )

 

ORDER GRANTING UNITED STATES’ MOTION TO DISMISS INDICTMENT

 

Defendant Dallis Jerome Price, having been previously convicted of a misdemeanor crime
of domestic violence, was indicted for possession of a firearm in violation of 18 U.S.C. § 922(§).
The United States filed this motion to dismiss the indictment because Defendant Was prosecuted in
the Circuit Court of Gibson County, Tennessee, in cases numbered 7667 and H7705; therefore, the
state prosecution vindicated the relevant federal interest and dual prosecution is not Warranted. F or
good cause shown, the United States’ motion is GRANTED and Defendant’s indictment is
DISMISSED.

IT IS SO ORDERED.

Cb/MAM

JAM D. TODD
UN D STATES DISTRICT JUDGE

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DATE

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Honorable J ames Todd
US DISTRICT COURT

